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               IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN


BERT GREEN, individually and on behalf
of all others similarly situated,

                          Plaintiff,          Case No.: 21-cv-11810-VAR-CI

       v.

PGA MAGAZINE PUBLICATIONS &
MARKETING CROUP,

                          Defendant.


    NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

      Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff Bert

Green hereby dismisses without prejudice all claims against Defendant PGA

Magazine Publications & Marketing Group.


Dated: September 14, 2021                       /s/ Philip L. Fraietta______
                                                 Philip L. Fraietta

                                         BURSOR & FISHER, P.A.

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